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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  JOSHUA OTERO,                                                  CIVIL ACTION
                            Plaintiff
                                                                  NO. 22-4141
          v.


  POLICE OFFICER CHRISTIAN KANE, et
  al.
                   Defendants.




                                           NOTICE

To:    Counsel of Record

       TAKE NOTICE that a Telephone Conference re: status for settlement is scheduled in

the above-captioned matter with Magistrate Judge David R. Strawbridge for Monday, April 17,

2023, at 3:00 p.m. Counsel for the parties shall dial into Chambers’ bridge line at 888.363.4735;

Access Code – 672.8493




                                              /s/ Erin Hills o/b/o Danielle Puchon
                                            Danielle Puchon
                                            Deputy Clerk
                                            267-299-7790 - phone


Date: February 3, 2023

-Notice filed via ECF
